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 Fill in this information to identify the case:

 Debtor name         Firestar Diamond, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         18-10509 (SHL)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $319.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    HSBC Bank (USA), National                               Operating/Checking
           3.1.     Association                                             Account                         9209                                    $25,723.00



                    HSBC Bank (USA), National
           3.2.     Association                                             A/R Checking Account            3004                                $3,187,202.00



                    HSBC Bank (USA), National                               Payroll/Checking
           3.3.     Association                                             Account                         6799                                  $101,118.00




           3.4.     Israel Discount Bank of New York                        Checking Account                1657                                    $17,525.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                 $3,331,887.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 1
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 Debtor           Firestar Diamond, Inc.                                                     Case number (If known) 18-10509 (SHL)
                  Name


        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Rent Security Deposit for 22 West 48th Street, Suite 707
                    22 Rock Plaza LLC
                    22 West 48th Street
           7.1.     New York, NY 10036                                                                                                  $19,100.00


                    Rent Security Deposit for 592 Fifth Avenue, 3rd Floor
                    UOB Realty (USA) Limited Partnership
                    592 Fifth Avenue
           7.2.     New York, NY 10036                                                                                                $156,484.00


                    Machine Lease Deposit
                    Gemex
                    6040 W. Executive Drive, Suite A
           7.3.     Mequon, WI 53092                                                                                                      $3,500.00


                    Machine Lease Deposit
                    Gemex
                    6040 W. Executive Drive, Suite A
           7.4.     Mequon, WI 53092                                                                                                      $7,500.00


                    Machine Lease Deposit
                    Gemex
                    6040 W. Executive Drive, Suite A
           7.5.     Mequon, WI 53092                                                                                                      $1,050.00


                    Machine Lease Deposit
                    Gemex
                    6040 W. Executive Drive, Suite A
           7.6.     Mequon, WI 53092                                                                                                      $3,000.00


                    Machine Lease Deposit
                    Gemex
                    6040 W. Executive Drive, Suite A
           7.7.     Mequon, WI 53092                                                                                                      $5,000.00


                    Machine Lease Deposit
                    Gemex
                    6040 W. Executive Drive, Suite A
           7.8.     Mequon, WI 53092                                                                                                      $1,000.00


                    Machine Lease Deposit
                    Gemex
                    6040 W. Executive Drive, Suite A
           7.9.     Mequon, WI 53092                                                                                                      $6,000.00


                Machine Lease Deposit
                Gemex
           7.10 6040 W. Executive Drive, Suite A
           .    Mequon, WI 53092                                                                                                        $16,000.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor           Firestar Diamond, Inc.                                                     Case number (If known) 18-10509 (SHL)
                  Name



                Machine Lease Deposit
                Gemex
           7.11 6040 W. Executive Drive, Suite A
           .    Mequon, WI 53092                                                                                                          $1,500.00


                Machine Lease Deposit
                Gemex
           7.12 6040 W. Executive Drive, Suite A
           .    Mequon, WI 53092                                                                                                          $4,000.00


                Machine Lease Deposit
                Gemex
           7.13 6040 W. Executive Drive, Suite A
           .    Mequon, WI 53092                                                                                                            $500.00


                Machine Lease Deposit
                Gemex
           7.14 6040 W. Executive Drive, Suite A
           .    Mequon, WI 53092                                                                                                            $515.00


                Rent Security Deposit for 160 Griffith Street, 1st Floor
                Shine Properties
           7.15 59 Hidden Lake Drive
           .    North Brunswick, NJ 08902                                                                                                 $2,850.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment
                    Marketing Fee for Customers (March 2018 - May 2018)
                    Channel Advisor
                    Lockbox W-502057 / P.O. Box 7777
           8.1.     Philadelphia, PA 19175                                                                                                $3,390.00


                    Fee for Production of UPC Symbol for Tags (March 2018 - May 2018)
                    GSI
                    1009 Lenox Drive
           8.2.     Lawrence Township, NJ 08648                                                                                           $1,677.00


                    Prepaid Marketing
                    JD - Luxury V
                    8471 Melrose Avenue
           8.3.     West Hollywood, CA 90069                                                                                            $32,303.00


                    Fee for Booth at 2018 JCK Trade Show (June 2018)
                    The Plumb Association
                    157 Engle Street
           8.4.     Englewood, NJ 07631                                                                                                   $3,625.00


                    Marketing Fee for Diamonds in Glass (March 2018 - September 2018)
                    Natasha Schenk
                    Feldkirchenstrasse 30
           8.5.     Kalsdorf, Austria 8401                                                                                              $24,032.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                  Name

                    Line Fee (March 2018)
                    HSBC Bank (USA), National Association
                    452 Fifth Avenue
           8.6.     New York, NY 10018                                                                                                    $3,332.00


                    Consultation Fee for Evaluation of Employees (March 2018 - May 2018)
                    Praendex / The Kulfan
                    P.O. Box 430
           8.7.     Newbury Port, MA 01950                                                                                                $1,160.00


                    Rent for 592 Fifth Avenue, 3rd Floor - March 2018
                    UOB Realty (USA) Limited Partnership
                    592 Fifth Avenue
           8.8.     New York, NY 10036                                                                                                  $32,370.00


                    Rent for 22 West 48th Street, Suite 707 - March 2018
                    22 Rock Plaza LLC
                    22 West 48th Street
           8.9.     New York, NY 10036                                                                                                    $4,905.00


                Medical Insurance - March 2018
                Cook Group
           8.10 253 West 35th Street, 12th Floor
           .    New York, NY 10001                                                                                                      $17,289.00


                Life Insurance (March 2018)
                Metlife Group
           8.11 P.O. Box 804466
           .    Kansas City, MO 64180                                                                                                       $635.00



           8.12
           .    Prepaid Salaries                                                                                                      $232,366.00



           8.13
           .    Prepaid 2017 Taxes (Federal)                                                                                            $18,322.00



           8.14
           .    Prepaid 2017 Taxes (New York State)                                                                                       $3,625.00



           8.15
           .    Prepaid 2017 Taxes (New York City)                                                                                        $8,703.00



           8.16
           .    Prepaid Taxes (Other States)                                                                                            $21,848.00


                Commercial Insurance (March 2018 - November 2018)
                Travelers
           8.17 CL Remittance Center / P.O. Box 660317
           .    Dallas, TX 75266                                                                                                          $3,271.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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 Debtor         Firestar Diamond, Inc.                                                         Case number (If known) 18-10509 (SHL)
                Name



                Shipping Insurance (March 2018 - September 2018)
                Wasserman
           8.18 1120 Ponce De Leon Boulevard
           .    Coral Gables, FL 33134                                                                                                       $6,417.00


                Block Insurance (March 2018 - May 2018)
                Wasserman
           8.19 1120 Ponce De Leon Boulevard
           .    Coral Gables, FL 33134                                                                                                       $8,369.00


                D&O Insurance (March 2018 - November 2018)
                Arc Excess & Surplus
           8.20 P.O. Box 9012 / 113 South Service Road
           .    Jericho, NY 11753                                                                                                          $11,813.00


                Fee for Booth at 2018 JCK Trade Show (June 2018)
                The Plumb Association
           8.21 157 Engle Street
           .    Englewood, NJ 07631                                                                                                          $4,125.00



           8.22 Hotel Deposits for 2018 JCK Trade Show (June 2018)
           .    Delano/Mandalay Bay                                                                                                          $1,225.00




 9.        Total of Part 2.                                                                                                            $672,801.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                        10,944,927.00    -                      4,064,962.00 = ....                 $6,879,965.00
                                              face amount                        doubtful or uncollectible accounts




           11b. Over 90 days old:                            9,954,856.00    -                     6,459,753.00 =....                   $3,495,103.00
                                              face amount                        doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                      $10,375,068.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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                                                                                                      Valuation method used   Current value of
                                                                                                      for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     Fantasy, Inc. (wholly-owned subsidiary)                        100           %                                        Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                 $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of       Valuation method used   Current value of
                                                      physical inventory      debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials
           Loose diamonds                                                                                                             $1,427,667.00



 20.       Work in progress
           Castings and findings.                                                                                                         $41,957.00


           Castings and findings at
           various vendor
           locations.                                                                                                                   $163,345.00



 21.       Finished goods, including goods held for resale
           Merchandise out on
           consignment with
           customers.                                                                                                                 $23,929,997.00


           Finished jewelry.                                                                                                          $7,997,285.00


           Merchandise out on
           consignment with
           overseas affiliates,
           which Debtors do not
           expect payment on or
           return of merchandise.                                                                                                          $9,018.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 6
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                Name

           Inventory samples on
           consignment with
           customers, which is not
           paid for and will not be
           returned in the ordinary
           course of business.                                                                                                        $924,622.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                     $34,493,891.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                    30476 Valuation method        503(b)9            Current Value                               0

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office Furniture & Fixtures                                                $66,833.00                                          $66,833.00



 40.       Office fixtures
           Leasehold Improvements                                                    $256,406.00                                         $256,406.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computer Equipment                                                           $8,870.00                                           $8,870.00


           Computer Software                                                          $28,292.00                                          $28,292.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 7
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 Debtor         Firestar Diamond, Inc.                                                        Case number (If known) 18-10509 (SHL)
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 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $360,401.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Machinery and equipment                                                    $11,639.00                                          $11,639.00


           Displays (at customer premises, Aurum
           Holdings Ltd.) - The displays cost was
           $164,190. The total is being amortized over a 3
           year period as of August 2017 (mohthly
           amortization = $4,561).                                                   $132,264.00                                        $132,264.00




 51.       Total of Part 8.                                                                                                           $143,903.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 8
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 Debtor         Firestar Diamond, Inc.                                                        Case number (If known) 18-10509 (SHL)
                Name


        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Office Lease: 22 West
                     48th Street, New
                     York, NY 10036                                                         $0.00                                                  $0.00


            55.2.    Office Lease
                     Agreement: 592 Fifth
                     Avenue, New York,
                     NY 10036                                                               $0.00                                                  $0.00


            55.3.    Sublease: 160 Griffith
                     Street, 1st Floor,
                     Jersey City, NY 07307                                                  $0.00                                                  $0.00




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Trademark - "Firestar" name                                            $2,075,109.00                                            Unknown


            Various patents, trademarks and other
            intellectual property.                                                          $0.00                                           Unknown



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 9
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 Debtor         Firestar Diamond, Inc.                                                        Case number (If known) 18-10509 (SHL)
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            Prepaid Royalties (First Quarter of 2018)
            JP-Verityjade
            Studio A, Spectrum House 32-34, Gordon
            House Road
            Hampstead, London, UK NW51LP                                                    $0.00                                             $47,525.00



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $47,525.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                    Current value of
                                                                                                                                    debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            Loan - Nirav Modi Inc. f/k/a Firestar                         2,329,930.00 -                                   0.00 =
            Jewelry, Inc.                                             Total face amount     doubtful or uncollectible amount               $2,329,930.00


                                                                               3,933.00 -                             3,933.00 =
            Due from Firestar Group, Inc.                             Total face amount     doubtful or uncollectible amount                          $0.00


                                                                              55,813.00 -                            35,813.00 =
            Loan - AVD Trading, Inc.                                  Total face amount     doubtful or uncollectible amount                  $20,000.00


                                                                              73,570.00 -                            73,570.00 =
            Loan - Nirav Modi personal loan                           Total face amount     doubtful or uncollectible amount                          $0.00


                                                                               1,000.00 -                             1,000.00 =
            Loan - Firestar Precious                                  Total face amount     doubtful or uncollectible amount                          $0.00



 72.        Tax refunds and unused net operating losses (NOLs)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 10
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 Debtor         Firestar Diamond, Inc.                                                       Case number (If known) 18-10509 (SHL)
                Name

           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           A. Jaffe, Inc. - (other receivable for allocated overhead)                                                                   $35,019.00



           Fantasy, Inc. - (other receivable for allocated overhead)                                                                  $107,886.00




 78.       Total of Part 11.                                                                                                     $2,492,835.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 11
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 Debtor          Firestar Diamond, Inc.                                                                              Case number (If known) 18-10509 (SHL)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $3,331,887.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $672,801.00

 82. Accounts receivable. Copy line 12, Part 3.                                                               $10,375,068.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                         $34,493,891.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $360,401.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $143,903.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                  $47,525.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $2,492,835.00

 91. Total. Add lines 80 through 90 for each column                                                       $51,918,311.00             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $51,918,311.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 12
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                                                                                   Pg 13 of 37
 Fill in this information to identify the case:

 Debtor name         Firestar Diamond, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)             18-10509 (SHL)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       HSBC Bank (USA), National
 2.1
       Association                                    Describe debtor's property that is subject to a lien             $11,400,000.00                   Unknown
       Creditor's Name                                Substantially all assets of the Debtor
       Sarah Seimens
       452 Fifth Avenue
       New York, NY 10018
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       September 2006                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1513
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Israel Discount Bank of
 2.2
       New York                                       Describe debtor's property that is subject to a lien               $8,600,000.00                  Unknown
       Creditor's Name                                Substantially all assets of the Debtor
       c/o David Herzog
       511 Fifth Avenue
       New York, NY 10017
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       September 2006                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6766
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       Firestar Diamond, Inc.                                                             Case number (if know)         18-10509 (SHL)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




                                                                                                                         $20,000,000.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity
        Brett D. Goodman
        Troutman Sanders                                                                                  Line   2.2
        875 Third Avenue
        New York, NY 10022

        Harris B. Winsberg
        Troutman Sanders LLP                                                                              Line   2.2
        600 Peachtree Street, NE Suite 3000
        Atlanta, GA 30308

        Ken Coleman
        Allen & Overy, LLP                                                                                Line   2.1
        1221 6th Avenue
        New York, NY 10020




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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                                                                               Pg 15 of 37
 Fill in this information to identify the case:

 Debtor name         Firestar Diamond, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)           18-10509 (SHL)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $4,905.00
           22 Rock Plaza LLC                                                    Contingent
           989 Sixth Avenue, 15th Floor                                         Unliquidated
           New York, NY 10018                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,703.03
           Abigail Lang                                                         Contingent
           10650 Countess Drive                                                 Unliquidated
           Dallas, TX 75229                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,145.36
           ADP, LLC                                                             Contingent
           P.O. Box 842875                                                      Unliquidated
           Boston, MA 02284                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,169.60
           Almat Forms & Systems, Inc.                                          Contingent
           One Main Street, Suite 2                                             Unliquidated
           Kings Park, NY 11754                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 16
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 Debtor       Firestar Diamond, Inc.                                                                  Case number (if known)            18-10509 (SHL)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,780.62
          Amazon.com                                                            Contingent
          Attn: A/P, P.O. Box 80387                                             Unliquidated
          Seattle, WA 98108                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,839.44
          American Express - Platinum                                           Contingent
          P.O. Box 1270                                                         Unliquidated
          Newark, NJ 07101                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1008
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,760.93
          American Express, Inc.                                                Contingent
          P.O. Box 360001                                                       Unliquidated
          Fort Lauderdale, FL 33336-0001                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,691.10
          American Trans Plastic                                                Contingent
          P.O. Box 703                                                          Unliquidated
          Edison, NJ 08818                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $401.44
          Axiam Printing                                                        Contingent
          2165 Morris Avenue                                                    Unliquidated
          Union, NJ 07083                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,527.40
          BK Jewelry Contractors, Inc.                                          Contingent
          71 West 47th Street, Room 1100                                        Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,100.00
          Cai Software LLC                                                      Contingent
          36 Thurber Boulevard                                                  Unliquidated
          Smithfield, RI 02917                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 16
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 Debtor       Firestar Diamond, Inc.                                                                  Case number (if known)            18-10509 (SHL)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $137,855.30
          Chase Card Service                                                    Contingent
          P.O. Box 1423                                                         Unliquidated
          Charlotte, NC 28201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4864
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,802.67
          Chase Card Service                                                    Contingent
          P.O. Box 15153                                                        Unliquidated
          Wilmington, DE 19886                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1860
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,649.55
          Colony Group, Inc.                                                    Contingent
          1096 Laurel Court                                                     Unliquidated
          Mansfield, TX 76063                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,202.14
          Cook Group Solutions, LLC                                             Contingent
          253 West 35th Street, 12th Floor                                      Unliquidated
          New York, NY 10001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $849.00
          Crown Findings Company, Inc.                                          Contingent
          44 West 47th Street, GF #12                                           Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $500.00
          Cyrus D. Mehta & Associates                                           Contingent
          2 Wall Street, 6th Floor                                              Unliquidated
          New York, NY 10005                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,721.05
          Data2, Inc.                                                           Contingent
          P.O. Box 790379                                                       Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 16
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 Debtor       Firestar Diamond, Inc.                                                                  Case number (if known)            18-10509 (SHL)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,255.78
          Distinctive Offices, Inc.                                             Contingent
          250 West 40th Street, 9th Floor                                       Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,736.90
          Donna Cutillo & Company                                               Contingent
          1447 Ottawa Court                                                     Unliquidated
          Toms River, NJ 08753                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,617.50
          Fancy Creations Company Ltd.                                          Contingent
          Unit B03, 2/F, Summit Building                                        Unliquidated
          30 Man Yue Street                                                     Disputed
          Hunghom, Kowloon, Hong Kong
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,182.00
          Fantasy Diamond Corp.                                                 Contingent
          1550 West Carroll Avenue                                              Unliquidated
          Chicago, IL 60607                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,748.10
          Federal Express                                                       Contingent
          P.O. Box 371741                                                       Unliquidated
          Pittsburgh, PA 15250-7461                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,823.31
          Fidelity Investments                                                  Contingent
          Fidelity-Client Services ECM                                          Unliquidated
          100 Crosby Parkway                                                    Disputed
          Latonia, KY 41015
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,214,751.23
          Firestar Diamond BVBA                                                 Contingent
          Antwerp Diamond House, 4th Floor                                      Unliquidated
          Hooveniersstraat 30, Bus 119, #441                                    Disputed
          Antwerpen 2018
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Firestar Diamond, Inc.                                                                  Case number (if known)            18-10509 (SHL)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $470,564.21
          Firestar Diamond FZE (Dubai)                                          Contingent
          5EA-513 Dubai Airport Free Zone                                       Unliquidated
          Dubai, United Arab Emirates                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $222,346.38
          Firestar Diamond International, Inc.                                  Contingent
          580 Fifth Avenue, Suite 601                                           Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,090.00
          Firestar Group Inc.                                                   Contingent
          529 Fifth Avenue, 3rd Floor                                           Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,058,500.00
          Firestar Holdings Ltd., HK                                            Contingent
          21-23 2nd Floor, Henry House                                          Unliquidated
          10 Ice House Street                                                   Disputed
          Central, Hong Kong
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,666.00
          Firestar International Ltd.                                           Contingent
          AE-4050, Bharat Diamond Bourse                                        Unliquidated
          BKC, Bandra                                                           Disputed
          Mumbai, India 400051
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,790,810.00
          Firestar International Ltd.                                           Contingent
          Plot # G-1-181, Sez-II                                                Unliquidated
          Sitapura Industrial Area                                              Disputed
          Jaipur 302022, India
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $322,746.60
          Firestar International Ltd.                                           Contingent
          Part B, Unit No. 24, Tower II, Wing B                                 Unliquidated
          Kohinoor Citykirol Road Kurla (W)                                     Disputed
          Mumbai 400070, India
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Firestar Diamond, Inc.                                                                  Case number (if known)            18-10509 (SHL)
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,650,800.07
          Firestar International Ltd.                                           Contingent
          1110, Prasad Chambers                                                 Unliquidated
          Opera House                                                           Disputed
          Mumbai 400004, India
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $193,013.00
          Firestar International Ltd.                                           Contingent
          1110, Prasad Chambers, Opera House                                    Unliquidated
          Mumbai, India 400004                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $17,563,781.43
          Firestar International P Ltd.                                         Contingent
          Plot #17/18/19, Unit #2, 1st Floor                                    Unliquidated
          Surat Special Economi                                                 Disputed
          Sachin, Surat 394230
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $151,873.73
          Firestar International P Ltd.                                         Contingent
          Plot No. 118, Road No. 18                                             Unliquidated
          MIDC, Andheri (East)                                                  Disputed
          Mumbai, Maharashtra, India 400093
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $41,250.00
          First Insight, Inc.                                                   Contingent
          2000 Ericsson Drive, Suite 200                                        Unliquidated
          Warrendale, PA 15086-6507                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,394.56
          Fisher House Foundation Inc.                                          Contingent
          111 Rockville Pike, Suite 420                                         Unliquidated
          Rockville, MD 20850                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,721.52
          Fuller Box Co.                                                        Contingent
          P.O. Box 198                                                          Unliquidated
          Central Falls, RI 02863                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Firestar Diamond, Inc.                                                                  Case number (if known)            18-10509 (SHL)
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $825.00
          Gail Stern Consulting, LLC                                            Contingent
          69 Hawthorne Way                                                      Unliquidated
          Hartsdale, NY 10530                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,375.95
          Gemex Systems Inc.                                                    Contingent
          6040 West Executive Drive, Suite A                                    Unliquidated
          Mequon, WI 53092                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $254.00
          Gemological Science International                                     Contingent
          581 Fifth Avenue, 4th Floor                                           Unliquidated
          New York, NY 10017                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $460.50
          GS Laboratories of America                                            Contingent
          141114 N. Dallas Parkway, Suite 475                                   Unliquidated
          Dallas, TX 75254                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $378.00
          GSI                                                                   Contingent
          581 FIfth Avenue, 4th Floor                                           Unliquidated
          New York, NY 10017                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $414.58
          Guardian Insurance                                                    Contingent
          P.O. Box 677458                                                       Unliquidated
          Dallas, TX 75267                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $195.98
          GXS                                                                   Contingent
          29144 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $46.00
          Harikrishna Diamond Cutters, Inc.                                     Contingent
          31 West 47th Street, Suite 1003                                       Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,604.00
          I & C Creation Jewelry LLC                                            Contingent
          37 West 47th Street, Suite 705                                        Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,195.44
          IBM Corporation                                                       Contingent
          P.O. Box 643600                                                       Unliquidated
          Pittsburgh, PA 15264                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $991.50
          Independent Gemological Lab                                           Contingent
          25 West 45th Street, Suite 1406                                       Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Internal Revenue Service                                              Contingent
          1 Clinton Avenue                                                      Unliquidated
          Albany, NY 12207
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,816.09
          International Gemological Institute                                   Contingent
          551 Fifth Avenue                                                      Unliquidated
          New York, NY 10176                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $837.70
          International Packaging Corp.                                         Contingent
          P.O. Box 845241                                                       Unliquidated
          Boston, MA 02284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,571.96
          Jennifer Sloan                                                        Contingent
          450 22nd Street, Suite 150                                            Unliquidated
          Lombard, IL 60148                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,186.71
          Joseph Castings, Inc.                                                 Contingent
          25 Brook Avenue                                                       Unliquidated
          Maywood, NJ 07607                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $37.76
          Karizia S.P.A.                                                        Contingent
          Via Perosi, 18/20 36067                                               Unliquidated
          T. Cassola (VI), Italy                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $833.83
          Kassoy                                                                Contingent
          101 Commerical Street, Suite 200                                      Unliquidated
          Plainview, NY 10803                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,111.50
          Lisa Shamus & Associates                                              Contingent
          350 East 79th Street, Apt. 38B                                        Unliquidated
          New York, NY 10075                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $247,553.24
          Malca-Amit CHB, Inc.                                                  Contingent
          153-66 Rockaway Boulevard                                             Unliquidated
          Jamaica, NY 11434                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $48,293.12
          Malca-Amit USA, LLC                                                   Contingent
          Attn: Accounts Receivable                                             Unliquidated
          153-66 Rockaway Boulevard                                             Disputed
          Jamaica, NY 11434
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,406.78
          Metlife - Group Benefits                                              Contingent
          P.O. Box 804466                                                       Unliquidated
          Kansas City, MO 64180                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,465.33
          Midas Chain, Inc.                                                     Contingent
          50 McDermott Place                                                    Unliquidated
          Bergenfield, NJ 07621                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,992.50
          MIG Manufacturing Inc.                                                Contingent
          19 West 36th Street, 5th Floor                                        Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,927.08
          Mutual Security Services                                              Contingent
          10 West 46th Street                                                   Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $399.21
          Nancy Benson                                                          Contingent
          3522 Emerald Court                                                    Unliquidated
          Grapevine, TX 76051                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,767.76
          Nancy Benson                                                          Contingent
          c/o FedEx Office, N. Benson                                           Unliquidated
          5615 Colleyville Blvd.                                                Disputed
          Colleyville, TX 76034
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $661.63
          National Chain Group                                                  Contingent
          55 Access Road                                                        Unliquidated
          Warwick, RI 02886                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $425.44
          Navy Exchange SVC COM #050100NE                                       Contingent
          530 Independence Parkway                                              Unliquidated
          Chesapeake, VA 23320                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          New York City Department of Finance                                   Contingent
          One Centre Street                                                     Unliquidated
          New York, NY 10007
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,287.98
          Noble Gift Packaging Inc.                                             Contingent
          20 Sand Park Road                                                     Unliquidated
          Cedar Grove, NJ 07009                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          NYS Department of Taxation & Finance                                  Contingent
          W A Harriman Campus, #855                                             Unliquidated
          Albany, NY 12227
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,389.00
          Pacific Northern, Inc.                                                Contingent
          3116 Belmeade Drive                                                   Unliquidated
          Carrollton, TX 75006                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,082.49
          Piercing Pagoda                                                       Contingent
          3000 Grapevine Mills K1113                                            Unliquidated
          Grapevine, TX 76051                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,250.00
          Platinum Talent LLC                                                   Contingent
          2831 St. Rose Parkway, Suite 261                                      Unliquidated
          Henderson, NV 89052                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $652.00
          RAM Jewelry, Inc.                                                     Contingent
          7 West 54th Street, 6th Floor                                         Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $212.50
          Rebecca Enis                                                          Contingent
          3619 Bowne Street, Apt. 2F                                            Unliquidated
          Flushing, NY 11354                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $610.00
          Riddles Group Inc.                                                    Contingent
          dba Ridco Jewelry                                                     Unliquidated
          2707 Mt. Rushmore Road                                                Disputed
          Rapid City, SD 57701
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,330.43
          Rocket Red Box, Inc.                                                  Contingent
          375 Executive Boulevard, Suite W-4                                    Unliquidated
          Elmsford, NY 10523                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,086.93
          Rosemary Mazza                                                        Contingent
          c/o 592 Fifth Avenue                                                  Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $321.00
          Ross Metals                                                           Contingent
          54 West 47th Street                                                   Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,022.85
          Royal Chain                                                           Contingent
          2 West 46th Street, 2nd Floor                                         Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $164.00
          S. Bichachi Bluemenfeld Diamond Co.                                   Contingent
          580 Fifth Avenue, Suite 608                                           Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $619,917.27
          Saumil Diam LLC                                                       Contingent
          15 West 47th Street, Suite 1707                                       Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,284.91
          Security Industry Specialists                                         Contingent
          6071 Bristol Parkway                                                  Unliquidated
          Culver City, CA 90230                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,716.72
          Sharon Thomson                                                        Contingent
          600 N. Dearborn Street, Apt. #1802                                    Unliquidated
          Chicago, IL 60654                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,080.00
          Signature B&B Companies                                               Contingent
          501 Franklin Avenue                                                   Unliquidated
          Garden City, NY 11530                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,653.98
          Staples Business Advantage                                            Contingent
          Dept. NY, P.O. Box 415256                                             Unliquidated
          Boston, MA 02241-5256                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $2.00
          Sunshine Diamond Cutter, Inc.                                         Contingent
          38 West 48th Street, Suite 905                                        Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $496.64
          SuperJeweler.com                                                      Contingent
          18 East 48th Street, 3rd Floor                                        Unliquidated
          New York, NY 10017                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,127,499.00
          Synergies Corp.                                                       Contingent
          592 Fifth Avenue, 3rd Floor                                           Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $393.03
          Tessler & Weiss                                                       Contingent
          2389 Vauxhall Road                                                    Unliquidated
          P.O. Box 3114                                                         Disputed
          Union, NJ 07083
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,625.00
          The Plumb Club Association                                            Contingent
          157 Engle Street                                                      Unliquidated
          Englewood, NJ 07631                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $185.52
          Torrie Caufield                                                       Contingent
          c/o 592 Fifth Avenue                                                  Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,785.26
          U.S. Customs and Border                                               Contingent
          P.O. Box 530071                                                       Unliquidated
          Atlanta, GA 30353                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,440.00
          UL Verification Services Inc.                                         Contingent
          62045 Collections Center Drive                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Firestar Diamond, Inc.                                                                  Case number (if known)            18-10509 (SHL)
              Name

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,445.05
          Uline                                                                 Contingent
          Attn: Accounts Receivable                                             Unliquidated
          2200 S. Lakeside Drive                                                Disputed
          Waukegan, IL 60085
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,456.35
          United States Treasury                                                Contingent
          Attn: Extracting Stop 312                                             Unliquidated
          201 W. River Center Boulevard                                         Disputed
          Covington, KY 41011
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $341.34
          Victor Settings                                                       Contingent
          25 Brook Avenue                                                       Unliquidated
          Maywood, NJ 07607                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,339.79
          W.R. Cobb Company                                                     Contingent
          800 Waterman Avenue                                                   Unliquidated
          East Providence, RI 02914                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $160.43
          Walmart.com                                                           Contingent
          c/o Walmart Headquarters                                              Unliquidated
          702 S. W. 8th Street                                                  Disputed
          Bentonville, AR 72716
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,680.00
          Wasserman & Wexler, LLC                                               Contingent
          1120 Ponce De Leon Boulevard                                          Unliquidated
          Miami, FL 33134                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,049.00
          Wasserman & Wexler, LLC                                               Contingent
          d/b/a IBJ                                                             Unliquidated
          1120 Ponce De Leon Boulevard                                          Disputed
          Coral Gables, FL 33134
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 15 of 16
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                                                                               Pg 30 of 37
 Debtor       Firestar Diamond, Inc.                                                                  Case number (if known)            18-10509 (SHL)
              Name

 3.103     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $79,918.70
           World Diamond Distribution FZE                                       Contingent
           Office #D-3, Phase-II, Box #50046                                    Unliquidated
           Fujairah Free Zone, Fujairah                                         Disputed
           United Arab Emirates
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?        No      Yes


 3.104     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $570.00
           XOMOX                                                                Contingent
           151 West 46th Street, 15th Floor                                     Unliquidated
           New York, NY 10036                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Office of the United States Attorney
           86 Chambers Street                                                                         Line     3.97
           3rd Floor
           New York, NY 10007                                                                                Not listed. Explain



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                          0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                 42,457,753.71

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                    42,457,753.71




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 16 of 16
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 Fill in this information to identify the case:

 Debtor name         Firestar Diamond, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         18-10509 (SHL)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Office lease (22 West
             lease is for and the nature of               48th Street)
             the debtor's interest

                  State the term remaining                3 years, 11 months
                                                                                       22 Rock Plaza LLC
             List the contract number of any                                           989 Sixth Avenue, 15th Floor
                   government contract                                                 New York, NY 10036


 2.2.        State what the contract or                   Consignment
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                             BBB Group, Inc.
                                                                                       d/b/a Bailey, Banks and Biddle
             List the contract number of any                                           3440 Sojourn Road, Suite 200
                   government contract                                                 Carrollton, TX 75006


 2.3.        State what the contract or                   Consignment
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                       Fred Meyer Jewelers, Inc.
             List the contract number of any                                           3800 SE 22nd Avenue
                   government contract                                                 Portland, OR 97202-2000


 2.4.        State what the contract or                   Licensing agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Until either party
                                                          provides 30-day notice
                                                          of cancellation              Gail Stern Consulting
             List the contract number of any                                           9 Robin Hill Road
                   government contract                                                 Scarsdale, NY 10583




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 4
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 Debtor 1 Firestar Diamond, Inc.                                                                 Case number (if known)   18-10509 (SHL)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.5.        State what the contract or                   Consignment
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                               Macy's East
                                                                                         Attn: Consignment Manager
             List the contract number of any                                             2101 East Kemper Road
                   government contract                                                   Cincinnati, OH 45241


 2.6.        State what the contract or                   Consignment
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                               Macy's Florida, LLC
                                                                                         Attn: Consignment Manager
             List the contract number of any                                             2101 East Kemper Road
                   government contract                                                   Cincinnati, OH 45241


 2.7.        State what the contract or                   License Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Natascha Schenk
                                                                                         Copacabana 8
             List the contract number of any                                             8401 Kallsdorf bei Graz
                   government contract                                                   Austria


 2.8.        State what the contract or                   License Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                1 year, 9 months
                                                                                         Peanuts Worldwide LLC
             List the contract number of any                                             7 Penn Plaza, 370 7th Avenue, Suite 1701
                   government contract                                                   New York, NY 10001


 2.9.        State what the contract or                   Sublease agreement
             lease is for and the nature of               (Debtor is sublessee)
             the debtor's interest                        for 160 Griffith Street,
                                                          1st Floor, Jersey City,
                                                          NJ 07307
                  State the term remaining                1 year
                                                                                         Shine Properties LLC
             List the contract number of any                                             59 Hidden Lake Drive
                   government contract                                                   North Brunswick, NJ 08902


 2.10.       State what the contract or                   Consignment
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                         SimplexDiam, Inc.
                  State the term remaining                Through August 9,              50 West 47th Street, Suite 2011
                                                          2022                           New York, NY 10036
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 2 of 4
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 Debtor 1 Firestar Diamond, Inc.                                                                 Case number (if known)   18-10509 (SHL)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

             List the contract number of any
                   government contract


 2.11.       State what the contract or                   Consignment
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Through December 20,
                                                          2020                           Sterling Jewelers, Inc.
             List the contract number of any                                             375 Ghent Road
                   government contract                                                   Akron, OH 44333


 2.12.       State what the contract or                   Consignment
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Through December 20,
                                                          2020                           Sterling, Inc.
             List the contract number of any                                             375 Ghent Road
                   government contract                                                   Akron, OH 44333


 2.13.       State what the contract or                   Licensing Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               The American Society for the Prevention
                                                                                         of Cruelty to Animals
             List the contract number of any                                             424 East 92nd Street
                   government contract                                                   New York, NY 10128


 2.14.       State what the contract or                   Consignment
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Through December 20,
                                                          2020                           TXDC, L.P.
             List the contract number of any                                             901 W. Walnut Hill Lane
                   government contract                                                   Irving, TX 75038


 2.15.       State what the contract or                   Office lease (592 Fifth
             lease is for and the nature of               Avenue)
             the debtor's interest

                  State the term remaining                5 years, 5 months
                                                                                         UOB Realty (USA) Limited Partnership
             List the contract number of any                                             592 Fifth Avenue, 10th Floor
                   government contract                                                   New York, NY 10036




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 3 of 4
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 Debtor 1 Firestar Diamond, Inc.                                                                 Case number (if known)   18-10509 (SHL)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.16.       State what the contract or                   Trademark license
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining                1 year, 9 months               Verity Jade Limited
                                                                                         Studio A, Spectrum House
             List the contract number of any                                             32-34 Gordon House Road
                   government contract                                                   Hampstead, London, UK NW51LP


 2.17.       State what the contract or                   Trademark License
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                               VerityJade Limited
                                                                                         Studio A, Spectrum House
             List the contract number of any                                             32-34 Gordon House Road
                   government contract                                                   Hampstead, London, UK NW51LP


 2.18.       State what the contract or                   Consignment
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Through December 20,
                                                          2020                           Zale Delaware, Inc.
             List the contract number of any                                             901 W. Walnut Hill Lane
                   government contract                                                   Irving, TX 75038




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Firestar Diamond, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         18-10509 (SHL)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Fantasy, Inc.                     592 Fifth Avenue                                  HSBC Bank (USA),                   D   2.1
                                               New York, NY 10036                                National Association               E/F
                                                                                                                                    G




    2.2      Fantasy, Inc.                     592 Fifth Avenue                                  Israel Discount Bank               D   2.2
                                               New York, NY 10036                                of New York                        E/F
                                                                                                                                    G




    2.3      Firestar Group,                   592 Fifth Avenue                                  HSBC Bank (USA),                   D   2.1
             Inc.                              New York, NY 10036                                National Association               E/F
                                                                                                                                    G




    2.4      Firestar                          1110 Prasad Chambers, Opera House                 Israel Discount Bank               D   2.2
             International Ltd.                Mumbai, India 400051                              of New York                        E/F
                                                                                                                                    G




    2.5      Firestar                          1110 Prasad Chambers, Opera House                 HSBC Bank (USA),                   D   2.1
             International Ltd.                Mumbai, India 400051                              National Association               E/F
                                                                                                                                    G




Official Form 206H                                                          Schedule H: Your Codebtors                                        Page 1 of 2
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 Debtor       Firestar Diamond, Inc.                                                       Case number (if known)   18-10509 (SHL)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      Nirav Modi                        4 Grosvenor House Peddar Road                    HSBC Bank (USA),                D   2.1
                                               Mumbai, India                                    National Association            E/F
                                                                                                                                G




    2.7      Nirav Modi                        4 Grosvenor House Peddar Road                    Israel Discount Bank            D   2.2
                                               Mumbai, India                                    of New York                     E/F
                                                                                                                                G




Official Form 206H                                                          Schedule H: Your Codebtors                                   Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Firestar Diamond, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         18-10509 (SHL)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 27, 2018                          X /s/ Ajay Gandhi
                                                                       Signature of individual signing on behalf of debtor

                                                                       Ajay Gandhi
                                                                       Printed name

                                                                       Chief Financial Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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